             Case 3:22-cv-00455-SB            Document 14   Filed 10/21/22     Page 1 of 3




Robert B. Miller, OSB No. 960068
RBMillerConsulting@gmail.com
KILMER, VOORHEES & LAURICK,P.C.
2701 NW Vaughn Street, Suite 780
Portland, Oregon 97210
Telephone: (503) 224-0055
Fax: (503) 222-5290

Attorneys for Defendant




                                UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON




   TSUTOMU SHIMOMURA,
   ______________________________,

                              Plaintiff(s),                     3:22-cv-00455-SB
                                                      Case No.: _______________________

   v.
   UNUM LIFE INSURANCE COMPA
   ______________________________,                    JOINT ALTERNATIVE DISPUTE
                                                      RESOLUTION REPORT
                        Defendant(s).
   _____________________________________

   Pursuant to LR 16-4(d), the parties to all cases, unless exempt, are required to confer regarding
   ADR and file this report within one-hundred fifty (150) days of the initiation of a lawsuit. This
   report is submitted in compliance with LR 16-4(d).

    1.      Have counsel held settlement discussions with their clients and the opposing party?
           ✔
           ‫܆‬Yes           ‫܆‬No

            If not, provide an explanation:




   Joint Alternative Dispute Resolution Report                                                         1
   [Rev. 02/2021]
          Case 3:22-cv-00455-SB             Document 14   Filed 10/21/22   Page 2 of 3




 2.      The parties propose:    (check one of the following)

         ‫(܆‬a) That this case be referred to a neutral of their choice for ADR not
              sponsored by the Court pursuant to LR 16-4(e)(1).

         ‫(܆‬b) That the Court refer this case to mediation using a Court-sponsored
              mediator. (See LR 16-4(f) for Court-sponsored mediation procedures).
              The parties seek a Court mediator because:




         ‫(܆‬c) ADR may be helpful at a later date following completion of:




         ‫(܆‬d) The parties believe the Court would be of assistance in preparing for
              ADR by:




        ✔
        ‫(܆‬e) The parties do not believe that any form of ADR will assist in the
                 resolution of this case.


         ‫(܆‬f) Other:




Joint Alternative Dispute Resolution Report                                              2
[Rev. 02/2021]
          Case 3:22-cv-00455-SB       Document 14   Filed 10/21/22    Page 3 of 3




           October 21, 2022                         /s/ Megan E. Glor, OSB # 930178
Dated:________________________                By:   _____________________________
                                                    Attorney for Plaintiff


                                              By:   /s/ Robert B. Miller, OSB # 960068
                                                    ______________________________
                                                    Attorney for Defendant




Joint Alternative Dispute Resolution Report                                              3
[Rev. 02/2021]
